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                        MDL 1570 PLAINTIFFS’ EXECUTIVE COMMITTEES
                         In re: Terrorist Attacks on September 11, 2001 (S.D.N.Y.)
    Plaintiffs’ Executive Committee for Personal                 Plaintiffs’ Executive Committee for
                Injury and Death Claims                                   Commercial Claims
 Ronald L. Motley (1944-2013)                              Stephen A. Cozen, Co-Chair
 Jodi Westbrook Flowers, Co-Chair                          Sean Carter, Co-Chair
 Donald A. Migliori, Co-Chair                              J. Scott Tarbutton, Liaison Counsel
 Robert T. Haefele, Liaison Counsel                        COZEN O’CONNOR
 MOTLEY RICE LLC
                                                    VIA ECF
June 19, 2024

 The Honorable Sarah Netburn, U.S. Magistrate Judge
 United States District Court for the S.D.N.Y.
 Thurgood Marshall U.S. Courthouse, Room 430
 40 Foley Square
 New York, NY 10007

         Re:        In Re: Terrorist Attacks on September 11, 2001, 03 MDL 1570 (GBD) (SN)

Dear Judge Netburn:

         As set forth in their June 7, 2024 letter to Hon. Judge Daniels, ECF No. 9885 at 3-4, the
Plaintiffs’ Executive Committees and counsel for the Ashton Plaintiffs (“Plaintiffs”) are continuing to
file publicly (with redactions where appropriate) the judicial documents as to which the meet-and-
confer process with all parties has been completed, and which are listed on Plaintiffs’ “Schedule of
Judicial Documents cleared for Public Filing”. ECF No. 9885-1.

         Plaintiffs are today filing on the public docket the following twenty (20) judicial documents:

                       Pls. Exhibit No.                 Bates / Production No.
                       Pls. Ex. 11D                     MPS894-CLIP Screenshots
                       Pls. Ex. 11L                     MPS910-CLIP Screenshots
                       Pls. Ex. 11M                     MPS911-CLIP Screenshots
                       Pls. Ex. 11N                     MPS999x_4017_5 and other images
                       Pls. Ex. 12AA (errata version)   MPS738
                       Pls. Ex. 12BB (errata version)   MPS688
                       Pls. Ex. 353                     MPS727_202
                       Pls. Ex. 355                     MPS727_142
                       Pls. Ex. 364                     MPS43_136
                       Pls. Ex. 365                     MPS43_137
                       Pls. Ex. 368                     MPS43_152, MPS43_144
                       Pls. Ex. 369                     MPS43_309
                       Pls. Ex. 373                     MPS43_345
                       Pls. Ex. 375                     MPS43_381, 380
                       Pls. Ex. 376                     MPS698_151
                       Pls. Ex. 377                     MPS698_145
                       Pls. Ex. 383                     MPS43_216
                       Pls. Ex. 390                     MPS43_229-30
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                       Pls. Ex. 392                            MPS42_218
                       Pls. Ex. 394                            MPS43_220

         Plaintiffs have made certain provisional redactions to these exhibits, as agreed between the
parties, including: provisional redactions of images to obscure the faces of individuals who were
minors at the time;1 and provisional redactions to telephone numbers and other data.2

        All Plaintiffs’ judicial documents that include Plaintiffs’ provisional redactions (“ppr”) are
subject to Plaintiffs’ reservation of rights to challenge later. ECF No. 9885.

Respectfully submitted,

    MOTLEY RICE LLC                                             COZEN O’CONNOR

    By: /s/ Robert T. Haefele                                   By: /s/ Sean P. Carter
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    For the Plaintiffs’ Executive Committee for Personal
    Injury and Death Claims on behalf of the Plaintiffs         For the Plaintiffs’ Executive Committee for Commercial
                                                                Claims on behalf of Plaintiffs

    KREINDLER & KREINDLER LLP

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    Attorneys for Ashton Plaintiffs

cc:        The Honorable George B. Daniels, via ECF
           All Counsel of Record via ECF




1
  In the exhibit “Pls. Ex. 11D_ppr”, Plaintiffs have obscured the faces of minors; the exhibit “Pls. Ex. 11N_ppr” contains
excerpted images without redactions; while in the exhibits “Pls. Ex. 11L” and “Pls. Ex. 11M” no redactions were required.

2
  In exhibits “Pls. Ex. 12AA_ppr” and “Pls. Ex. 12BB_ppr”, Plaintiffs have redacted telephone numbers and other data.
Plaintiffs have had to file “Pls. Ex. 12AA_ppr” (Bayoumi’s handwritten address book) in sections on the ECF to comply with
maximum file-size limits. Plaintiffs will make available copies of the whole exhibit as a single PDF via the same process
ordered by the Court for DVDs; requests to be directed to Plaintiffs’ counsel at: 911documentarchive@kreindler.com.
